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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
_____________________________________________________________________

STEPHEN NICHOLS, individually and
on behalf of all others similarly situated,

                        Plaintiff,

v.                                                              Case No. 18-12026

COUNTY OF WAYNE et al.

                Defendants.
_______________________________________/

OPINION AND ORDER GRANTING IN PART DEFENDANTS’ “MOTION TO DISMISS
    OR ABSTAIN OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT”

       This is a § 1983 procedural due process claim revolving around state property

forfeiture procedures. Pending before the court is a “Motion to Dismiss or to Abstain, or

in the alternative, for Summary Judgment” filed by the “Wayne County Prosecutor’s

Office” and defendant Kym Worthy. (Dkt. #6.) Plaintiff Stephen Nichols filed a response

(Dkt. #9), and Defendants filed a reply (Dkt. #10.) The court concludes that a hearing is

unnecessary. See E.D. Mich. LR 7.1(f)(2). For the reasons stated below, the court will

grant the Motion in part, dismissing the complaint for failure to state a claim.

                                     I. BACKGROUND

       Plaintiffs Stephen Nichols, Adam Chappell, Jr., and Ryan Chappell filed a

putative class action complaint naming as defendants the County of Wayne, “the Wayne

County Prosecutor’s Office,” the Wayne County Prosecutor Kym Worthy in her official

and individual capacity, the “Wayne County Sheriff’s Office,” and the City of Lincoln

Park. (Dkt. #1.) The complaint alleged municipal liability under 42 U.S.C. § 1983 for
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violations of the Fourteenth Amendment and sought declaratory and injunctive relief.

(Id., PageID 13–14.) A few months after it was filed, two of the three named Plaintiffs

voluntarily dismissed their claims and they, along with the “Sheriff’s Office,” were

terminated from the case. (Dkt. #3.) This left Wayne County, “the Wayne County

Prosecutor’s Office,” Kym Worthy, and the City of Lincoln Park as Defendants in the

case.

        The facts underlying remaining Plaintiff Nichols’ claim are as follows. Stephen

Nichols, while driving an automobile, was pulled over by a Lincoln Park police officer

and ticketed for driving an uninsured vehicle. (Dkt. #1, PageID 6.) He presented an

invalid insurance certificate to the officer and his car was confiscated under the

forfeiture provisions of Michigan’s Identity Theft Protection Act. (Id.) He filed a claim of

interest and posted a bond to contest the forfeiture. Wayne County failed to file a civil

forfeiture case against the vehicle and Nichols’ car was not returned to him until he filed

this lawsuit. He is challenging the process of the county’s seizure and forfeiture

procedure.

        Defendants “the Wayne County Prosecutor’s Office” and Kym Worthy filed a

“Motion to Dismiss or to Abstain, or in the alternative, for Summary Judgment.” (Dkt.

#6.)1 In Plaintiff’s response, he voluntarily dismissed his claim against Defendant Kym

Worthy in her individual capacity and dismissed his demand for declaratory and

injunctive relief. (Dkt. #9, PageID 120.) What remains of the Motion concerns Plaintiff’s

§ 1983 municipal liability claim against Wayne County2 for Fourteenth Amendment


1
  Defendant City of Lincoln Park did not join in the Motion but asserted Plaintiff’s failure
to state a claim as an affirmative defense in its Answer. (Dkt. #8, PageID 91.)
2
  Neither a Michigan “Prosecutor’s Office” nor a “Sheriff’s Office” (or “Department”) is a
legal entity amenable to suit under § 1983. Anthony v. Chylinski, 2008 WL 4239204, at

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violations. Plaintiff’s claim is that Defendants have “an unconstitutional practice . . . of

failing to provide prompt post-seizure, pre-forfeiture hearings in front of a neutral

decision-maker where . . . persons had vehicles seized without a warrant or a pre-

deprivation hearing.” (Dkt. #1, PageID 13.) Defendants argue, among other things, that

this claim fails because Plaintiff cannot show an underlying constitutional violation. (Dkt.

#6, PageID 45-47.)

                                        II. STANDARD

       A court may dismiss a complaint for “failure to state a claim upon which relief can

be granted” under Federal Rule of Civil Procedure 12(b)(6). “To survive a motion to

dismiss, a litigant must allege enough facts to make it plausible that the defendant bears

legal liability.” Agema v. City of Allegan, 826 F.3d 326, 331 (6th Cir. 2016) (citing

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A complaint “requires more than labels and

conclusions,” and must allege facts that “raise a right to relief above the speculative

level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       In determining plausibility, “a court must construe the complaint in the light most

favorable to the plaintiff [and] accept all factual allegations as true.” United States v.

Brookdale Senior Living Communities, Inc., 892 F.3d 822 (6th Cir. 2018) (internal

citations omitted). “The purpose of Rule 12(b)(6) is to allow a defendant to test whether,

as a matter of law, the plaintiff is entitled to legal relief even if everything alleged in the

complaint is true.” Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993) (internal citation

omitted). Stated differently, Rule 12(b)(6) acts “to enable defendants to challenge the



*2 (E.D. Mich. Sept. 11, 2008). A suit against Kym Worthy in her official capacity as
County Prosecuting Attorney is considered a claim against Wayne County itself. See
Will v. Mich. Dep’t of State Police, 491 U.S. 58, 91 (1989).

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legal sufficiency of complaints without subjecting themselves to discovery.” Yuhasz v.

Brush Wellman, Inc., 341 F.3d 559, 566 (6th Cir. 2003) (internal citation omitted).

                                      III. DISCUSSION

       As expressed in the Fourteenth Amendment, states may not “deprive any person

of life, liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1.

“The fundamental requirement of due process is the opportunity to be heard ‘at a

meaningful time and in a meaningful manner.’” Mathews v. Eldridge, 424 U.S. 319, 333

(1976) (internal citation omitted). It is a flexible standard, and the court balances three

factors to determine what process is appropriate in a specific situation. Id. (internal

citations omitted). These factors are: “[1] the private interest that will be affected by the

official action; [2] the risk of an erroneous deprivation of such interest through the

procedures used, and the provable value, if any, of additional or substitute procedural

safeguards, and [3] the Government’s interest, including the function involved and the

fiscal and administrative burdens that the additional or substitute procedural

requirement would entail.” Id. (citing Goldberg v. Kelly, 397 U.S. 254, 263–71 (1970)).

       A Michigan municipality or other local government unit is liable under 42 U.S.C.

§ 1983 “for constitutional injuries for which it is responsible.” Morgan v. Fairfield Cty.,

903 F.3d 553, 565 (2018) (citing Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690

(1978)). This responsibility encompasses “harms caused by direct actions of the

municipalities themselves, harms caused by the implementation of municipal policies or

customs, and harms caused by employees for whom the municipality has failed to

provide adequate training.” Id. (internal citations omitted).




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       Plaintiff’s Complaint alleges that Wayne County’s liability arises here from a

“policy, practice, custom or pattern of not providing these hearings” and in a failure to

train attorneys to conduct them. (Dkt. #1, PageID 13–14.) It is undisputed that

Defendants do not routinely provide post-deprivation, pre-forfeiture hearings for civil

seizures. Wayne County argues that this “policy” is merely its compliance with

Michigan’s forfeiture statute. The statute does not require such a hearing and has been

found constitutional by both Michigan state courts and federal courts. (Dkt. #10, PageID

123–25, 128.) See Michigan v. Milwaukee 3/8” Cordless Drill, 2011 WL 3268646, at *9

(W.D. Mich. July 29, 2011) (“Michigan forfeiture law provides owners of property with

notice of seizure and an opportunity to be heard.”); Nelson v. McDonough, 2011 WL

1539764, at *3 (W.D. Mich. April 21, 2011) (“The Michigan courts have held that the

availability of notice and a hearing under [the Michigan forfeiture statute] affords an

adequate remedy satisfying due process.”) (collecting Michigan state court cases).

       Defendants argue that their lack of routine post-deprivation, pre-forfeiture

hearings for civil seizures does not constitute a due process violation. Plaintiff’s

argument that it does appears to be primarily based on Krimstock v. Kelly, 306 F.3d 40

(2d Cir. 2002), which he cites in his response brief. (Dkt. #9, PageID 112.) This opinion

from a different jurisdiction is persuasive at best; it does not bind. Similarly persuasive-

at-best is People v. One 1998 GMC, 960 N.E.2d 1071 (Ill. 2011), which rejects

Krimstock. The court will address the reasoning of each.

       In Krimstock, the Second Circuit focused on three specific due process concerns

in holding that plaintiffs must be given a prompt opportunity to contest the holding of

their vehicle pending the civil forfeiture action. First, it noted the temporal gap between



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seizure and forfeiture proceedings, which can be “months or sometimes years.”

Krimstock, 306 F.3d at 54. Next, it noted a “special concern for the risk of erroneous

deprivation posed to innocent owners.” Id. at 56. Finally, it noted the lack of other forms

of interim relief. Id. at 58–60. Here, however, the Michigan forfeiture statute requires

that the county’s prosecuting attorney “promptly institute forfeiture proceedings” when a

forfeiture is disputed. Mich. Comp. Laws § 333.7523. If a complaint is not filed promptly,

a violation of state law occurs which could be addressed in state court. See, e.g., In re

Forfeiture of One 1983 Cadillac, 439 N.W.2d 346 (Mich. Ct. App. 1989). Also of note is

that the Supreme Court of the United States upheld another Michigan forfeiture

procedure that did not permit an innocent owner defense. Bennis v. Michigan, 516 U.S.

442, 446 (1996).

       Moreover, as the Supreme Court of Illinois pointed out, “it appears that Krimstock

was wrongly decided in light of the Supreme Court precedent.” One 1998 GMC, 960

N.E.2d at 1082. Indeed, in United States v. Von Neumann, 474 U.S. 242 (1986), the

Court held that, in relation to an owner’s property interest in their car, a “forfeiture

proceeding, without more, provides the postseizure hearing required by due process.”

Id. at 249. The Supreme Court of the United States has not found the Due Process

Clause to require a post-deprivation, pre-forfeiture hearing, and neither does this court.

       Wayne County’s “policy” of not providing an additional hearing does not violate

due process. Because the forfeiture procedure Wayne County follows, as Plaintiff

alleges, provides both notice and an opportunity to be heard, Plaintiff’s complaint fails to

state a claim upon which relief can be granted.




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        Furthermore, Plaintiff’s sole claim and argument against Defendant City of

Lincoln Park is identical to that against Wayne County. As Plaintiff had the opportunity

to respond to the argument in its Response to the other Defendants’ Motion and there is

no relevant factual or legal distinction between the claim against the City of Lincoln Park

and Wayne County, the court will dismiss the claim with respect to the City of Lincoln

Park as well. See Tingler v. Marshall, 716 F.2d 1109 (6th Cir. 1983) (requiring, before a

district court dismiss a claim sua sponte for failure to state a claim, that a plaintiff have

notice of the arguments for the claim’s dismissal and a chance to respond to them).

Accordingly,

        IT IS ORDERED that Defendants’ Motion (Dkt. #6) is GRANTED and Plaintiff’s

Complaint is DISMISSED as to all Defendants.3

                                                          s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE

Dated: December 11, 2018



I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 11, 2018, by electronic and/or ordinary mail.

                                                           s/Lisa Wagner
                                                           Case Manager and Deputy Clerk
                                                           (810) 292-6522




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 Because is relief is appropriate based upon Defendants’ request for dismissal under
12(b)(6), the court need not address the alternative arguments for abstention and
summary judgment.

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